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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT.OF ALASKA

Anne Cebr iA Mu li qan

(Enter full name of plaintiff in this actich)

 

 

 

Case No.
Plaintiff, (To be supplied by Court)
V5.
MUNG by ph Antnurey COMPLAINT UNDER
THE CIVIL RIGHTS ACT
ApD ; 42 U.S.C. § 1983

 

: (NON-PRISONERS)
(Enter full names of defendant(s) in this action.

Do NOT use et al.)
Defendant(s).
A. J urisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert Jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

 

1, Plaintiff, This complaint alleges that the civil rights of Ann. Pine t& Muh Gar
(print your name)

who presently resides at bz ms (ORE iol 3S AN, Prenysra ye, Me MAS:

(mailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

 

 

Defendant No.1, (fF ter Jos hus Rohe /t is a citizen of
(name)
AANBKe and is employed as a APP - 6Ff40lr
(state) , (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR
< The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No.2, 07F de. DAN gletther is a citizen of
(name) ;

ALAR _ andis employedasa Attia oF Fur

. (state) " (defendant's government positionditle)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

¥—The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

_ Defendant No.3, LEP Lnow lohleamAle Pole ce fur

 

 

is a citizen of
(name)
Ah ergs ,and is employed asa_A?P Offa
(state) (defendant's government position/ttle)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

~The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

_ C. Causes of Action (You may attach additional pages alleging other causes of action and facts
Supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4," “Claim 5, etc.”).

PS02 — § 1983 Non-Prisoner
Dec, 2013
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Claim 1: On or about 4/17/3017 , my civil right to
; (Date)
Bom from) theel * Tiny seal Anise nt

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual eee etc. List only one violation.)

was violated by _ btiicer Josht-—_(Coskorts
(Name of the specific Defendant who Wiolated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):
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Dec. 2013
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Claim 2: On or about 4) 2/76/72 , my civil right to
a (Date)
fret dom fyb Vist “uniyseal Quniushasnat

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual! punishment, etc. List only one violation.)

was Violated by DEB ter ENN Flarthel
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

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A}

Claim 3: On or about ali 7/2617 , my civil right to

(Date)
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(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and

unusual punishment, etc. List only one violation.)

was violated by __[y NikNowr) whe. Mak, BYP police offer

(Name of the specifi c Defendant who violated this right)

 

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your awn words. Do-not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.)

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‘

D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? _X___ Yes No

2. If your answer is “Yes,” describe each lawsuit.

a, Lawsuit 1:

Plaintitis)._ pane f. mulls qn

Defendant(s):_MUnict At h| at Arca. | af?

Name and location of court: Sy pe gor Court of AMC nere je

Docket number: 241- /F-6594% Name of judge: Jenn he beni

Approximate date case was filed: 2)at] nora Date of final decision:

 

Disposition: Dismissed Appealed *_ Still pending
Issues Raised: Mak tnme |
b. Lawsuit 2:

| Plaintiff(s): Ann - t Ma apn"

Defendant(s); Munreeanny % Ancnere le

Name and location of court: Ge rir Chute A Anrthore .
Docket number: 34M-(4- 127 Remectiudge:_ Wane ber Lerndoss
Approximate date case was filed: au (ob! 4__ Date of final decision:
Disposition: ___ Dismissed ____ Appealed wb Still pending

Issues Raised:__ Lethe Cn Me

F, Request for Relief

Plaintiff requests that this Court grant the following relief:

4. Damages in the amount of $ 40 Mithen gllen

 

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2. Punitive damages in the amount of $_ 46 midleton pollo
3. An order requiring defendant(s) to Go fo [til © $7) V4 ghta ta
4. Adeclaration that she. AP) oF Fors fp nt brat, A> An J

6. Other: Mak pe thhyasn tp the fla lh pmmidiate. family
Lith inghetto ovANnth Children, UN iten + peat bu ANIN
Plaintiff demands a trialby jury. WV Yes No

DECLARATION UNDER PENALTY OF PERJURY

in the above action, that s/he has read the above civil rights complaint and
- that the information contained in the complaint-is true and-eorrect.

The undersigned declares under penalty of perjury that s/he is the plaintiff

Executed at AGL Ae

4

on. 4lT-2oy

(Location) (Date)

fodnne MUlhec, eo
(Plaintiffs Original Signature)

(laa cfestrre. Muller (fy C ) Lb (VIF

Original Signature of Attorney (if any) (Date)

By aps (Qe
UO oh Ae |
AA CNS, AK OG 5o{

Attorney's Address and Telephone Number

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